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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

EDWARD JACOB LANG, ET AL.
Plaintiff

VS. Civil Action No,_124-CV-00299-DLF

SARGEANT DANIEL THAU, ET AL.

Defendant
NOTICE OF APPEAL
Notice is hereby given this 19TH  dayof AUGUST ,20.24 _ , that

PLAINTIFFS, EDWARD JACOB LANG, ET AL.

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

the judgment of this Court entered on the 19TH day of JUNE , 20.24
‘1 favor of DEFENDANTS, SARGENT DANIEL THAU, ET AL.

against said PLAINTIFFS.

STEFANIE LAMBERT (MI0103)

Attorney or Pro Se Litigant

400 RENAISSANCE CENTER, FLOOR 26
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Address and Phone Number

(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil action
must be filed within 30 days after the date of entry of judgment or 60 days if the United States or
officer or agency is a party)

CLERK Please mail copies of the above Notice of Appeal to the following at the addresses indicated:
